Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.941 Filed 05/28/09 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,                   CASE NUMBER: 07-20037-2
                                                  HONORABLE VICTORIA A. ROBERTS
v.

MICHAEL G. PANYARD,

                     Defendant.
                                                        /

      ORDER DENYING DEFENDANT’S MOTION FOR BOND PENDING APPEAL

I.     INTRODUCTION

       Defendant Michael Panyard requests to remain on bond pending his appeal of

this Court’s judgment of conviction to the Sixth Circuit.

       Defendant’s motion is DENIED.

II.    BACKGROUND

       The Clean Water Act (“CWA” or “the Act”) prohibits the discharge of pollutants

into United States waters through publicly owned treatment works, except in

accordance with a National Pollutant Discharge Elimination System (“NPDES”) permit

issued pursuant to the Act. 33 U.S.C. §§ 1311(a), 1317(b)(1), 1342. The Act allows

states to set up and manage their own NPDES programs, contingent on approval by the

Environmental Protection Agency (“EPA”), and to license qualified wastewater treatment

facilities to pretreat certain types of waste. § 1342(b). The Michigan Department of

Environmental Quality (“MDEQ”) administers the state’s EPA-approved NPDES

program. MDEQ authorizes local agencies like the Detroit Water and Sewerage

Department (“DWSD”) to issue discharge permits to local operators and to enforce
Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.942 Filed 05/28/09 Page 2 of 7




federal pretreatment standards locally. Id. At all times, the federal government

maintains the authority to prosecute knowing violations of “any requirement imposed in

a pretreatment program approved under [§ 1342(a)(3) or (b)(8)] of this Act.” §

1319(c)(2)(A).

       Comprehensive Environmental Solutions, Inc. (“CESI”) and its predecessor

entity, Rich Coast, Inc. (“RCI”), own an industrial waste treatment, storage and disposal

facility in Dearborn, Michigan. This “tank farm” operates under a permit from DWSD,

which requires that liquid wastes be treated according to a multi-step process aimed at

removing oils and other industrial residue. Clients pay CESI to take their wastewater

and reduce chemicals or other contaminants to acceptable levels, at which point the

remaining water can be discharged legally into the municipal sewer for treatment by a

publicly-owned treatment works.

       Defendant worked for RCI and CESI from about 1997 until 2005, in various

capacities: he served successively as RCI’s Environmental Coordinator and Sales

Manager, and as CESI’s President, General Manager and Sales Manager.

       On June 17, 2002, federal and state law enforcement agents raided CESI on

suspicions that, over a period of about 14 months between 2001 and 2002, the facility

dumped millions of gallons of untreated industrial liquid waste into the sewers. A grand

jury indicted Defendant and two others, Bryan Mallindine and Charles Long, for violating

the Act.

       On October 21, 2008, after a three-week trial, a jury convicted Defendant of

bypassing CWA pretreatment requirements, in violation of 33 U.S.C. § 1319(c)(2)(A)

(Count II); rendering inaccurate DWSD monitoring devices or methods, in violation of 33

                                            2
Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.943 Filed 05/28/09 Page 3 of 7




U.S.C. § 1319(c)(4) (Count IV); making false statements, in violation of 18 U.S.C. §

1001 (Counts V-VIII, X and XII); and conspiring to commit all the above, in violation of

18 U.S.C. § 371 (Count I).

       After trial, Defendant filed a motion for acquittal on all counts, pursuant to Federal

Rule of Criminal Procedure 29; the Court denied the motion on January 7, 2009. United

States v. Panyard, No. 07-20037-2, 2009 U.S. Dist. LEXIS 771 (E.D. Mich. Jan. 7,

2009) (unpublished) (hereinafter “Rule 29 Order”). On April 22, the Court sentenced

him to 15 months detention, but waived costs and fines due to his lack of resources.

United States v. Panyard, No. 07-20037-2, 2009 U.S. Dist. LEXIS 34978 (E.D. Mich.

Apr. 23, 2009) (unpublished) (hereinafter “Sentencing Order”). On May 4, Defendant

filed a notice of appeal; the next day, the Sixth Circuit ordered the appeal expedited for

briefing and submission, and a complete transcript of Defendant’s trial prepared by May

29, 2009. (Doc. #94, Def.’s In Forma Pauperis Mot. Ex. A.)

III.   ANALYSIS

       Pursuant to the Bail Reform Act of 1984 (“the Act”), a defendant found guilty and

sentenced to a term of imprisonment may be released on bond pending appeal if the

trial court finds--

       (A) by clear and convincing evidence that the person is not likely to flee or
           pose a danger to the safety of any other person or the community if
           released under [18 U.S.C. § 3142(b) or (c)]; and
       (B) that the appeal is not for the purpose of delay and raises a substantial
           question of law or fact likely to result in--
           (i) reversal,
           (ii) an order for a new trial,
           (iii) a sentence that does not include a term of imprisonment, or
           (iv) a reduced sentence to a term of imprisonment less than the total of
                 the time already served plus the expected duration of the appeal


                                             3
Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.944 Filed 05/28/09 Page 4 of 7




               process.
       If the judicial officer makes such findings, [he or she] shall order the
       release of the person in accordance with [18 U.S.C. § 3142(b) or (c)] . . .

18 U.S.C. § 3143(b)(1). The Act creates a presumption against release pending

appeal. United States v. Vance, 851 F.2d 166, 169 (6th Cir.), cert. denied, 488 U.S.

893 (1988). In overcoming this presumption, the burden of proof rests with the

defendant. Id. (citing United States v. Pollard, 778 F.2d 1177, 1181-82 (6th Cir. 1985)).

       A.     Risk of Flight and Danger to Others

       In determining whether a defendant poses a risk of flight or a danger to the

community, a court must consider available information on several factors, including:

       (1) the nature and seriousness of the offense charged; (2) the weight of
       evidence against the defendant; (3) the defendant’s character, physical
       and mental condition, family and community ties, past conduct, history
       relating to drug or alcohol abuse, and criminal history; and (4) the nature
       and seriousness of the danger to any person or the community that would
       be posed by the defendant’s release.

Vance, 851 F.2d 166, 169-70 (quoting United States v. Delker, 757 F.2d 1390, 1398-99

(3d Cir. 1985)).

       The Court considered these factors when it sentenced Defendant, so it need not

review them in detail. See Sentencing Order. The Court decided Defendant poses a

low risk of recidivism; he is unlikely to re-offend against the environment. Moreover,

given the nature of his crime, his criminal history, and all other factors considered at

sentencing, the Court is confident – and the Government agrees – that Defendant is not

likely to flee or pose a danger to others if released.

       B.     Substantial Question of Law or Fact

       To determine if an appeal raises a substantial question of law or fact, the Sixth


                                              4
Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.945 Filed 05/28/09 Page 5 of 7




Circuit applies the two-part test devised by the Eight Circuit in United States v. Powell,

761 F.2d 1227 (8th Cir. 1985) (en banc). Pollard, 778 F.2d at 1182. In Powell, the

court held:

       [A] defendant who wishes to be released on bail after the imposition of a
       sentence including a term of imprisonment must first show that the
       question presented by the appeal is substantial, in the sense that it is a
       close question or one that could go either way. It is not sufficient to show
       simply that reasonable judges could differ . . . or that the issue is fairly
       debatable or not frivolous. On the other hand, the defendant does not
       have to show that it is likely or probable that he or she will prevail on the
       issue on appeal. If this part of the test is satisfied, the defendant must
       then show that the substantial question he or she seeks to present is so
       integral to the merits of the conviction that it is more probable than not that
       reversal or a new trial will occur if the question is decided in the
       defendant’s favor.

Powell, 761 F.2d at 1233-34. See also United States v. Mikell, No. 97-CR-81493, 2007

U.S. Dist. LEXIS 4233, at *6 (E.D. Mich. Jan. 22, 2007) (unpublished) (“Courts have

also held that a substantial question is ‘either a novel question, one that has not been

decided by controlling precedent, or one which is fairly doubtful.’”); United States v.

Henson, 663 F. Supp. 1112, 1113 (W.D. Ky. 1987) (same) (citing United States v.

Miller, 753 F.2d 19, 23 (3d Cir. 1985).

       With one exception (see below), Defendant’s bond motion summarizes the

arguments made in his Fed. R. Crim. P. 29 motion for acquittal. Defendant contends

that although this Court denied the motion, the Sixth Circuit may view these issues

differently and reverse, order a new trial, or impose a sentence without imprisonment.

       The Court addressed each issue raised here in denying Defendant’s motion for

acquittal; there is no need to duplicate this analysis if no issue creates a substantial

question. The Court not only considered whether there was sufficient evidence to


                                              5
Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.946 Filed 05/28/09 Page 6 of 7




convict, but also discussed Defendant’s legal arguments, notably whether the federal

government can enforce a specific pretreatment process that is not explicitly required by

federal law. See Rule 29 Order at *6-10. In the end, the Court concluded it had proper

jurisdiction over CWA claims, and that the jury acted reasonably in convicting Defendant

on all counts.

       In light of 18 U.S.C. § 3143(b)(1)(B), Pollard and Powell, the Court is satisfied

that, for the same reasons Defendant’s motion for acquittal was denied, Defendant fails

to raise a substantial question on appeal. Specifically, the Court is certain the CWA

could not be interpreted as Defendant suggests in opposing his conviction on Counts II,

IV, V and XII. Likewise, after presiding over trial, the Court is confident the evidence

was sufficient for the jury to find Defendant guilty beyond a reasonable doubt. See Rule

29 Order.

       Defendant’s motion also alludes to “a statement” he made during the execution

of the search warrant at CESI, and which the Court admitted over his objection at trial.

Defendant did not raise this in his motion for acquittal. Defendant does not identify the

statement, but the Court assumes he refers to statements made to Special Agent Carol

Paszkiewicz on June 17, 2002. As to the substantial legal question the statement

raises, Defendant states: “Trial counsel indicates that this may be an issue on appeal.”

       Vague assertions such as these do not satisfy Defendant’s burden to show his

appeal would present a “close question or one that could go either way” on appeal. See

United States v. Moore, Nos. 88-5460 & 88-5503, 849 F.2d 1474 (6th Cir. 1988) (Table

of Decisions Without Reported Opinions) (“mere identification of issues does not

demonstrate that an appeal establishes a substantial question entitling the defendant to

                                             6
Case 2:07-cr-20037-VAR-MKM ECF No. 104, PageID.947 Filed 05/28/09 Page 7 of 7




release pending appeal” (citing Pollard, 778 F.2d 1182)). Moreover, at trial, the Court

held a separate hearing on this issue outside the jury’s presence. After careful review,

the Court ruled Defendant’s statement admissible. Defendant submits no reason to

hold otherwise.

        Despite the Court’s determination that Defendant poses little risk of flight or

danger to the community, the motion for bond must be denied, because Defendant fails

to raise a substantial question of law or fact that, if decided in his favor, would likely

result in reversal, a new trial, or an adjustment of his sentence on appeal. See United

States v. Chilingirian, 280 F.3d 704, 709 (6th Cir. 2002) (denying bond solely because

defendant failed to raise a substantial question); Pollard, 778 F.2d at 1181 (same).

IV.     CONCLUSION

        Defendant’s Motion for Bond Pending Appeal is DENIED.

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: May 28, 2009

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 May 28, 2009.

 s/Linda Vertriest
 Deputy Clerk




                                                   7
